               Case 18-31274 Document 844 Filed in TXSB on 05/29/18 Page 1 of 2




                                                                                               Bloomberg News          1101 New York Ave NW
                                                                                                                       Tel +1 202 807 2119
                                                                                                                       11th Floor
                                                                                                                       jvoskuhl@bloomberg.net
                                                                                                                       Washington, DC 20005




May 29, 2018

The Honorable Marvin Isgur
United States Bankruptcy Court for the Southern District of Texas
Courtroom 404
515 Rusk
Houston, TX 77022

                                     In re: iHeartMedia, Inc., et. al., No. 4:18-bk-31274

Dear Judge Isgur:

I am a journalist for Bloomberg News, an accredited global newsgathering organization. I write
respectfully to request that the Court reconsider its March 15, 2018, order allowing the Debtors to
redact the names and complete addresses of individual employees and customers listed on
documents filed with the Court. See Docket #114.

In their March 15, 2018 motion requesting redaction, the Debtors cite Section 107 (c) of the
Bankruptcy Code, which allows the Court to protect an individual "to the extent the court finds that
disclosure of such information would create undue risk of identity theft …." However, the
disclosure of names alone would cause no such risk. Disclosing names of individual creditors also
seems to be consistent with the cases cited by the Debtors in paragraph 13 of their motion. All but
one of those cases provided that names would be released and only addresses would be redacted to
protect against any risk of identity theft. The remaining case dealt with UK citizens and the names
were kept confidential pursuant to UK privacy regulations, which do not appear to be applicable
here. It would also seem that disclosure of the city and state or merely the state of residence --
without disclosing the street address -- would result in a more minimal closure of court records
while still offering ample protection against any risk of identity theft.

These proceedings -- which relate to the bankruptcy of the U.S.'s largest radio broadcaster -- are of
particular interest to Bloomberg News's readers. The identity of creditors is important to a full
understanding of the proceedings and possible outcomes. In order to ensure that the public's interest
in this case is protected to the fullest extent possible, I respectfully request that the Court modify its
order to allow the disclosure of creditor's names, as well as their cities and states of residence.




BLOOMBERG, BLOOMBERG PROFESSIONAL, BLOOMBERG MARKETS, BLOOMBERG NEWS, BLOOMBERG ANYWHERE, BLOOMBERG TRADEBOOK, BLOOMBERG BONDTRADER, BLOOMBERG TELEVISION,
BLOOMBERG RADIO, BLOOMBERG PRESS and BLOOMBERG.COM are trademarks and service marks of Bloomberg Finance L.P., a Delaware limited partnership, or its
subsidiaries. The BLOOMBERG PROFESSIONAL service
(the "BPS") is owned and distributed locally by Bloomberg Finance L.P. (BFLP) and its subsidiaries in all jurisdictions other than Argentina, Bermuda, China,
India, Japan and Korea (the "BLP Countries"). BFLP is a wholly-owned subsidiary
of Bloomberg L.P. ("BLP"). BLP provides BFLP with all global marketing and operational support and service for these products and distributes the BPS either
directly or through a non-BFLP subsidiary in the BLP Countries.
               Case 18-31274 Document 844 Filed in TXSB on 05/29/18 Page 2 of 2




                                                                        Sincerely,




                                                                        John Voskuhl
                                                                        Bloomberg News




BLOOMBERG, BLOOMBERG PROFESSIONAL, BLOOMBERG MARKETS, BLOOMBERG NEWS, BLOOMBERG ANYWHERE, BLOOMBERG TRADEBOOK, BLOOMBERG BONDTRADER, BLOOMBERG TELEVISION,
BLOOMBERG RADIO, BLOOMBERG PRESS and BLOOMBERG.COM are trademarks and service marks of Bloomberg Finance L.P., a Delaware limited partnership, or its
subsidiaries. The BLOOMBERG PROFESSIONAL service
(the "BPS") is owned and distributed locally by Bloomberg Finance L.P. (BFLP) and its subsidiaries in all jurisdictions other than Argentina, Bermuda, China,
India, Japan and Korea (the "BLP Countries"). BFLP is a wholly-owned subsidiary
of Bloomberg L.P. ("BLP"). BLP provides BFLP with all global marketing and operational support and service for these products and distributes the BPS either
directly or through a non-BFLP subsidiary in the BLP Countries.
